            Case 2:17-cr-00060-DAD-DB Document 37 Filed 06/02/17 Page 1 of 2


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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-0060 MCE

12                                 Plaintiff,            DETENTION ORDER

13                          v.

14   PAMELA EMANUEL,

15                                Defendant.

16
17          On May 26, 2017, the government filed a motion to revoke the release order as to Pamela

18 Emanuel. The defendant opposed the motion. On June 1, 2017, the Court held a hearing on the motion.
19 Pursuant to 18 U.S.C. § 3142(i), and for the reasons stated orally at that hearing, the transcript of which
20 is incorporated by reference, the government’s motion to revoke the release order is GRANTED.
21 Having fully considered the factors set forth in 18 U.S.C. § 3142(g), the Court finds, by clear and
22 convincing evidence, that there is no condition or combination of conditions that would reasonable
23 assure the safety of the community if the defendant as released.
24          The defendant is remanded to the custody of the Attorney General or to the Attorney General’s

25 designated representative for confinement in a corrections facility separate, to the extent practicable,
26 from persons awaiting or serving sentences or being held in custody pending appeal. The defendant
27 must be afforded a reasonable opportunity for private consultation with defense counsel. On order of a
28 court of the United States or on request of an attorney for the Government, the person in charge of the


       DETENTION ORDER                                   1
            Case 2:17-cr-00060-DAD-DB Document 37 Filed 06/02/17 Page 2 of 2


 1 corrections facility must deliver the defendant to a United States Marshal for the purpose of an
 2 appearance in connection with a court proceeding.
 3          IT IS SO ORDERED.

 4 Dated: June 2, 2017
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      DETENTION ORDER                                   2
